                                                                                   Case 2:18-cv-01283-RSWL-KS Document 6 Filed 02/16/18 Page 1 of 2 Page ID #:70



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                                                                                    6 UnitedHealthcare Insurance Company

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                                                                                    8
                                                                                                               UNITED STATES DISTRICT COURT
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                                                                                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                   10
                                                                                        Namdy Consulting, Inc.,                     Case No.: 2:18-cv-01283 RSWL (KS)
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                                          Plaintiff,                [Removal from the Superior Court of
                                                                                   12                                               California, Los Angeles, Case No.
                                                                                             vs.                                    BC685507]
REED SMITH LLP




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                                                                                        UnitedHealthcare Insurance Company and      STIPULATION TO EXTEND
                                                                                   14 DOES 1-20.                                    DEFENDANTS’ TIME TO
                                                                                                                                    RESPOND TO INITIAL
                                                                                   15                     Defendants.               COMPLAINT PURSUANT TO L.R.
                                                                                                                                    8-3
                                                                                   16
                                                                                                                                   Compl. Served:     December 26, 2017
                                                                                   17                                              Current Resp. Date: February 23, 2018
                                                                                                                                   New Response Date: March 26, 2018
                                                                                   18
                                                                                                                                   Compl. Filed: November 30, 2017
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                                                                                                                          STIPULATION
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                                                                                              Plaintiff Namdy Consulting, Inc. and Defendant UnitedHealthcare Insurance
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                                                                                        Company, by and through their respective attorneys of record, stipulate and agree as
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                                                                                        follows:
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                                                                                              Plaintiff filed its complaint on November 30, 2017 and served Defendant on
                                                                                   26
                                                                                        December 26, 2017;
                                                                                   27
                                                                                              Defendant filed a Notice of Removal on February 16, 2018 [Doc. 1];
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                                                                                         STIPULATION TO EXTEND DEFENDANT’S TIME TO RESPOND TO INITIAL
                                                                                                         COMPLAINT PURSUANT TO L.R. 8-3
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 6 Filed 02/16/18 Page 2 of 2 Page ID #:71



                                                                                    1         Defendant’s deadline to respond to the Complaint is February 23, 2018;
                                                                                    2         Plaintiff and Defendant agree, pursuant to Local Rule 8-3, to extend
                                                                                    3 Defendant’s deadline to respond to the Complaint by not more than 30 days until

                                                                                    4 Monday, March 26, 20181;

                                                                                    5         IT IS HEREBY STIPULATED THAT:
                                                                                    6         Defendant’s deadline to respond to Plaintiff’s Complaint shall be extended until
                                                                                    7 March 26, 2018.

                                                                                    8

                                                                                    9 DATED: February 16, 2018                NESBIT LAW GROUP
                                                                                   10
                                                                                                                              By
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                                                                   Alan Nesbit
                                                                                   12                                              Attorney for Plaintiff
                                                                                                                                   Namdy Consulting, Inc.
REED SMITH LLP




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                                                                                   14 DATED: February 16, 2018                REED SMITH LLP

                                                                                   15
                                                                                                                              By /s/ Farah Tabibkhoei
                                                                                   16                                           Amir Shlesinger
                                                                                                                                Farah Tabibkhoei
                                                                                   17                                           Sarah Johansen
                                                                                                                                Attorneys for Defendant
                                                                                   18                                           UnitedHealthcare Insurance Company
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                                                                                   27 1 The 30th day falls on Sunday, March 25, 2018. Pursuant to Fed. R. Civ. Proc.
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                                                                                        6(a)(1), the response is due on Monday, March, 26, 2018.

                                                                                                                    -2-
                                                                                        STIPULATION TO EXTEND DEFENDANT’S TIME TO RESPOND TO INITIAL
                                                                                                        COMPLAINT PURSUANT TO L.R. 8-3
